      Case 22-18303-JKS Doc 142-4 Filed 08/25/23 Entered 08/25/23 12:51:44                                   Desc
                Proposed Order Dismissing BAV Auto LLC Case Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 AND 9
Peter J. D’Auria, Esq. (PD 3709)
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
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                                                                   Chapter 11
In Re:
                                                                   Case No. 22-18303(JKS)
Alexandre Dacosta and Viviane Antunes, et al.5,                    (Jointly Administered)
                                                                   Hearing Date: Sept. 26, 2023 at 10:00 a.m.
Debtors.
                                                                   Judge: John K. Sherwood

                           ORDER OF DISMISSAL OF BAV AUTO, LLC CASE

             The relief set forth on the following page(s) numbered two (2) is hereby ORDERED.




     5
      The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
     digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
     Case 22-18303-JKS Doc 142-4 Filed 08/25/23 Entered 08/25/23 12:51:44                            Desc
               Proposed Order Dismissing BAV Auto LLC Case Page 2 of 2



(Page 2)
Alexandre Dacosta and Viviane Antunes, et al.
Chapter 11 Case No.: 22-18303(JKS) (Jointly Administered)
Order of Dismissal of BAV Auto, LLC Case
_________________________________________________________________________________


       Upon consideration of the Motion of the United States Trustee by and through counsel, for an

Order Converting the BAV Auto, LLC Case to Chapter 7, or Alternatively to Dismiss the Case,

pursuant to 11 U.S.C. § 1112(b), and notice of the motion having been given to the Individual

Debtors, the Corporate Debtors, the Related Debtors’ respective counsel, and parties in interest, and

the Court having found cause for the entry of the within Order, and the Court having further found

that entry of the within Order is in the best interest of creditors and the bankruptcy estate, it is hereby:

    ORDERED that the chapter 11 case of BAV Auto, LLC, 22-17933(JKS), is hereby

DISMISSED and any discharge that was granted is vacated. All outstanding fees to the Court that

are due and owing must be paid within 7 days of the date of this Order.

       Pursuant to Fed. R. Bankr. P. 2002(f), the Clerk shall notify all parties in interest of the entry

of this Order.
